      Case 1:18-cv-00419-VSB-OTW Document 52 Filed 08/07/19 Page 1 of 1

                       LEE LITIGATION GROUP, PLLC
                                  148 WEST 24TH STREET, EIGHTH FLOOR
                                         NEW YORK, NY 10011
                                           TEL: 212-465-1180
                                           FAX: 212-465-1181
                                       INFO@LEELITIGATION.COM


WRITER’S DIRECT:          212-465-1188
                          cklee@leelitigation.com
                                                                            August 7, 2019
 Via ECF
 The Honorable Vernon S. Broderick, U.S.D.J.
 United States District Court
 Southern District of New York
 40 Foley Square
 New York, NY 10007

                   Re: Vicente, et al. v. Ljubica Contractors LLC, et al.
                       Case No. 18-cv-419(VSB)(OTW)

Dear Judge Broderick:

       We are counsel to Plaintiffs. Defendants’ response to Plaintiffs’ Motion for Summary
Judgment was due July 29, 2019. See Dkt. # 44. Defendants have not filed either their opposition or
a request for an extension to time to file their response.

       Therefore, Plaintiffs respectfully request that Your Honor consider the Motion as unopposed
and decide the Motion on the basis of Plaintiffs’ moving papers.

       We thank the Court for considering this matter.

Respectfully submitted,

/s/ C.K. Lee
C.K. Lee, Esq.

cc:     all parties (via ECF)
